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 1   ROBERT W. COTTLE, ESQ.
     Nevada Bar No. 4576
 2   MATTHEW D. MINUCCI, ESQ.
     Nevada Bar No. 12449
 3   THE COTTLE FIRM
     8635 S. Eastern Avenue
 4   Las Vegas, Nevada 89123
     Phone: (702) 722-6111
 5   Fax: (702) 834-8555
     Email: mminucci@cottlefirm.com
 6   Attorneys for Plaintiff

 7                                UNITED STATES DISTRICT COURT

 8                                      DISTRICT OF NEVADA

 9
     KEVIN WESLEY SPARKS, an individual; CASE NO: 2-20-cv-01499-KJD-DJA
10
                    Plaintiff,
11
     vs.                                           STIPULATION AND ORDER                   TO
12                                                 REMAND TO STATE COURT
     RIO PROPERTIES, LLC, d/b/a RIO LAS
13   VEGAS HOTEL & CASINO, a Domestic
14   Limited-Liability Company; DOES 1-10,
     and ROE CORPORATIONS 1 - 10,
15   inclusive,

16                  Defendants.
17          Plaintiff, KEVIN WESLEY SPARKS (“Plaintiff”) and RIO PROPERTIES, LLC d/b/a
18   RIO LAS VEGAS HOTEL & CASINO (“Defendant”) stipulate as follows:
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            1.      On June 24, 2020, Plaintiff commenced an action in the Eighth Judicial District
20
     Court, Clark County, Nevada, entitled KEVIN WESLEY SPARKS, an individual, Plaintiff, vs.
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     RIO PROPERTIES, LLC d/b/a RIO LAS VEGAS HOTEL & CASINO, a Domestic Limited-
22
23   Liability Company; DOES 1-10, and ROE CORPORATIONS 1-10, inclusive, Defendant, as

24   Case Number A-20-817105-C (the “Action”).

25          2.      Defendant acknowledges service of the complaint on or about July 16, 2020.
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            3.      On August 12, 2020, Defendant filed a notice of removal of the action pursuant to
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     28 U.S.C. § 1331, with the United States District Court for the District of Nevada.
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 1          4.      Plaintiff filed a Motion to Remand the matter to state court, asserting that the

 2   claims within the Complaint sound in negligence and no federal question is implicated.
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     Defendant disputes this.
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            5.      The parties conferred and after some discussion, the parties have agreed to
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     remand the Action to the Eighth Judicial District Court, Clark County, Nevada.
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            6.      To that end, the Parties hereby stipulate that the Action be remanded to Eighth
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 8   Judicial District Court, Clark County, Nevada.

 9          7.      The parties further stipulate that each party shall bear its own attorneys’ fees and
10   costs with respect to the removal and subsequent remand of the Action pursuant to this
11
     stipulation and order.
12
     Dated this 18thth day of August, 2020.       Dated this 18th day of August, 2020.
13
     THE COTTLE FIRM                              HALL JAFFE & CLAYTON, LLP
14

15      /s/ Matthew D. Minucci                    ______/s/ Riley A. Clayton________
16   MATTHEW D. MINUCCI, ESQ.                     RILEY A. CLAYTON, ESQ.
     8635 S. Eastern Avenue                       7425 Peak Dr.
17   Las Vegas, Nevada 89128                      Las Vegas, Nevada 89128
     Attorneys for Plaintiff, Kevin Sparks        Attorney for Defendant, Rio Properties, LLC
18

19
                                                  ORDER
20
                                                  IT IS SO ORDERED.
21
                                                          8/20/2020
                                                  Dated: ____________
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23
                                                  _________________________________
24
                                                  UNITED STATES DISTRICT COURT JUDGE
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